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                EXHIBIT A
                   TO
                AMENDED
               COMPLAINT
                 Case 1:18-cv-02709-TNM Document 17-1 Filed 01/17/19 Page 2 of 17




RAMYA KRISHNAN
Staff Attorney

                                                                    October 19, 2018

                     Information and Privacy Coordinator
                     Central Intelligence Agency
                     Washington, DC 20505


                              Re:       Freedom of Information Act Request
                                        Expedited Processing Requested

                     To whom it may concern,

                        The Knight First Amendment Institute at Columbia University (“Knight
                     Institute” or “Institute”)1 submits this request pursuant to the Freedom of
                     Information Act (“FOIA”), 5 U.S.C. § 552, for records relating to the
                     journalist Jamal Khashoggi.

                                                         I. Background

                        When an Intelligence Community (“IC”) element acquires information
                     indicating an impending threat of intentional killing, serious bodily injury,
                     or kidnapping directed at a person, Intelligence Community Directive 191
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                     responsible for protecting the intended victim, as appropriate.”2 Directive
                     191 further obligates IC elements to “document and maintain records” on
                     any actions taken pursuant to that duty. Directive 191, § 13.

                        Jamal Khashoggi, a columnist for the Washington Post, is believed to have
                     been killed after entering a Saudi consulate in Istanbul on October 2, 2018.3
                     The Washington Post reports that, before his disappearance, U.S. intelligence
                     agencies intercepted communications of Saudi officials discussing a plan to

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  capture Khashoggi.4 It is not publicly known, however, whether the U.S.
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  the categories described above, we seek the entirety of that document. If
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  burdensome, we ask that you give us an opportunity to narrow our request.
  Please disclose all segregable portions of otherwise exempt records. See 5
  U.S.C. § 552(b).

                III. Application for Expedited Processing

     The Knight Institute requests expedited processing pursuant to 5 U.S.C.
  § 552(a)(6)(E). Obtaining, analyzing, and publicly disseminating information


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  about government activity are among the Institute’s core activities.6
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                                           /s/ Ramya Krishnan
                                          Ramya Krishnan
                                          Adi Kamdar
                                          Knight First Amendment Institute at
                                             Columbia University
                                          475 Riverside Drive, Suite 302
                                          New York, NY 10115
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                                           3
                 Case 1:18-cv-02709-TNM Document 17-1 Filed 01/17/19 Page 5 of 17




RAMYA KRISHNAN
Staff Attorney

                                                                    October 19, 2018

                     David M. Hardy, Chief
                     Record/Information Dissemination Section
                     Records Management Division
                     Federal Bureau of Investigation
                     Department of Justice
                     170 Marcel Drive
                     Winchester, VA 22602-4483


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Case 1:18-cv-02709-TNM Document 17-1 Filed 01/17/19 Page 6 of 17




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Case 1:18-cv-02709-TNM Document 17-1 Filed 01/17/19 Page 7 of 17




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                                          Sincerely,

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                                          Ramya Krishnan
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                                             Columbia University
                                          475 Riverside Drive, Suite 302
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                 Case 1:18-cv-02709-TNM Document 17-1 Filed 01/17/19 Page 8 of 17




RAMYA KRISHNAN
Staff Attorney

                                                                    October 19, 2018

                     FOIA Officer
                     National Security Agency
                     Attn: FOIA/PA Office
                     9800 Savage Road, Suite 6932
                     Ft. George G. Meade, MD 20755-6932


                              Re:       Freedom of Information Act Request
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Case 1:18-cv-02709-TNM Document 17-1 Filed 01/17/19 Page 10 of 17




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                 Case 1:18-cv-02709-TNM Document 17-1 Filed 01/17/19 Page 11 of 17




RAMYA KRISHNAN
Staff Attorney

                                                                    October 19, 2018

                     Patricia Gaviria, Director
                     Information Management Division
                     ATTN: FOIA/PA
                     Office of the Director of National
                        Intelligence
                     Washington, D.C. 20511


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Case 1:18-cv-02709-TNM Document 17-1 Filed 01/17/19 Page 13 of 17




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                               4
                 Case 1:18-cv-02709-TNM Document 17-1 Filed 01/17/19 Page 15 of 17




RAMYA KRISHNAN
Staff Attorney

                                                                    October 19, 2018

                     FOIA Officer
                     U.S. Department of State
                     Office of Information Programs and
                      Services
                     A/GIS/IPS/RL
                     SA-2, Suite 8100
                     Washington, D.C. 20522-0208


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                     freedoms of speech and the press through strategic litigation, research, and public
                     education.
                         2Director of National Intelligence, Intelligence Community Directive 191 § E.1
                     (July 21, 2015), https://perma.cc/49P8-J69X.
                         3Jamal Khashoggi: Saudi Journalist Vanishes in Istanbul, BBC News (Oct. 4, 2018),
                     https://perma.cc/VD23-B3NX; David D. Kirkpatrick & Carlotta Gall, Audio



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   The Washington Post reports that, before his disappearance, U.S. intelligence
   agencies intercepted communications of Saudi officials discussing a plan to
   capture Khashoggi.4 It is not publicly known, however, whether the U.S.
   government warned Khashoggi of that threat. The Knight Institute seeks to
   inform the public about the U.S. government’s compliance, or failure to
   comply, with its duty to warn Khashoggi of any known and impending
   threats to his safety.

                                II. Records requested

      The Knight Institute seeks the following records:

            1. All procedures or guidance for determining whether to warn,
                or for delivering a warning to, an intended victim or those
                responsible for protecting the intended victim, pursuant to
                Directive 191;

            2. All records concerning the duty to warn under Directive 191 as
                it relates to Jamal Khashoggi, including any records relating to
                duty to warn actions taken with respect to him;5

            3. All records concerning any “issue aris[ing] among IC
                elements” regarding a determination to warn Jamal Khashoggi
                or waive the duty to warn requirement, or regarding the
                method for communicating threat information to him. See
                Directive 191, § G.1.

      Where a document contains information that falls into one or more of
   the categories described above, we seek the entirety of that document. If
   processing the entirety of a given document would be unusually
   burdensome, we ask that you give us an opportunity to narrow our request.
   Please disclose all segregable portions of otherwise exempt records. See 5
   U.S.C. § 552(b).



   Offers Gruesome Details of Jamal Khashoggi Killing, Turkish Official Says, N.Y. Times (Oct.
   17, 2018), https://perma.cc/8RGV-7CVE.
      4 Loveday Morris, Souad Mekhennet & Kareem Fahim, Saudis Are Said To Have
   Lain in Wait for Jamal Khashoggi, Wash. Post (Oct. 9, 2018),
   https://perma.cc/82WY-EUJT.
      5 “Duty to warn actions” include but are not limited to senior officer reviews of
   threat information and determinations; justifications not to warn the intended
   victim based on waiver criteria; coordination with other IC elements (such as the
   Federal Bureau of Investigation or the Central Intelligence Agency) to determine
   how best to pass threat information to the intended victim; and communication of
   threat information to another IC element or U.S. government agency for delivery
   to the intended victim. See Directive 191, § F.13.


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                  III. Application for Expedited Processing

      The Knight Institute requests expedited processing pursuant to 5 U.S.C.
   § 552(a)(6)(E). Obtaining, analyzing, and publicly disseminating information
   about government activity are among the Institute’s core activities.6
   Furthermore, the requested records are urgently needed to inform the
   public about actual or alleged government activity. The disappearance of
   Jamal Khashoggi is the subject of national attention. Last week, a bipartisan
   group of 22 senators sent a letter to President Donald Trump expressing
   concern about the incident and requesting that the President make a
   determination on the imposition of sanctions on the responsible party within
   120 days.7

              IV. Application for Waiver or Limitation of Fees

      The Knight Institute requests a waiver of document search, review, and
   duplication fees on three grounds. First, the disclosure of the requested
   records is in the public interest and that disclosure is “likely to contribute
   significantly to the public understanding of the operations or activities of the
   government and is not primarily in the commercial interest of the
   requester.” 5 U.S.C. § 552(a)(4)(A)(iii). Second, the Institute is a
   “representative of the news media” within the meaning of FOIA and the
   records are not sought for commercial use. 5 U.S.C. § 552(a)(4)(A)(ii)(II).
   Third, the Institute qualifies as an “educational . . . institution” whose
   purposes include “scholarly . . . research” and the records are not sought for
   commercial use. 5 U.S.C. § 552(a)(4)(A)(ii)(II).

                                    *       *        *

      Thank you for your attention to our request.


                                           Sincerely,

                                            /s/ Ramya Krishnan
                                           Ramya Krishnan
                                           Adi Kamdar
                                           Knight First Amendment Institute at
                                              Columbia University
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      6   About the Knight Institute, https://perma.cc/S9PN-J4ZY.
      7 Press Release, Sen. Bob Corker, Corker, Menendez, Graham, Leahy Letter Triggers

   Global Magnitsky Investigation into Disappearance of Jamal Khashoggi (Oct. 10, 2018).


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